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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

DAVID BEAR,

      Plaintiff,
                                                Case No. 3:19-CV-04424-MCR/HTC
v.

ESCAMBIA COUNTY BOARD OF
COUNTY COMMISSIONERS AND
DOUGLAS UNDERHILL,

      Defendants.


       NOTICE OF CANCELLATION OF DEPOSITION OF DAVID BEAR

      PLEASE TAKE NOTICE that counsel for Defendant, Douglas Underhill, has
cancelled the deposition of Plaintiff, David Bear, previously scheduled for Friday,
March 25, 2022 at 10:00 a.m. The deposition will be rescheduled.


                                         /s/Edward P. Fleming
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been
served by electronic mail to all counsel of record listed below on this 24th of
March, 2022.
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Board of County Commissioners and
Douglas Underhill (in his official
capacity)


                                        /s/Edward P. Fleming
                                        Edward P. Fleming
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CC: VIA E-MAIL – ANCHOR COURT REPORTERS




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